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Local Form 1007-3-1(13)
REVISED 12/1/15

                                                               United States Bankruptcy Court
                                                                        District of Minnesota
 In re      Anthony J. Lastovich                                                                   Case No.      19-50848
                                                                                 Debtor(s)         Chapter       13


                                             NOTICE OF RESPONSIBILITIES OF
                                        CHAPTER 13 DEBTORS AND THEIR ATTORNEYS

       This Notice lists certain responsibilities of debtors and their attorneys. Nothing in this document
changes, limits, or in any way alters the debtor’s or the debtor’s attorney’s obligations under the
Bankruptcy Code, the local and national rules, or any rule of professional responsibility.

            UNLESS THE COURT ORDERS OTHERWISE:

I.          Before the case is filed, the attorney for the chapter 13 debtor shall, at a minimum:

            A.            Meet with the debtor to review and analyze the debtor’s real and personal property,
                          debts, income, and expenses and advise the debtor on whether to file a bankruptcy
                          petition;

            B.            Explain the various bankruptcy and non-bankruptcy options, the consequences of filing
                          under chapters 7, 11 or 13 and answer the debtor’s questions;

            C.            Explain to the debtor how the attorney’s and trustee’s fees are paid;

            D.            Explain what payments will be made directly by the debtor and what payments will be
                          made through the debtor’s chapter 13 plan, with particular attention to mortgage and
                          vehicle loan payments, as well as any other claims with accrued interest;

            E.            Explain to the debtor how, when, and where to make the chapter 13 plan payments;

            F.            Explain to the debtor that the first plan payment must be made to the trustee within 30
                          days of filing the case;

            G.            Advise the debtor of the requirement to provide to the trustee the most recently filed tax
                          return(s) at least seven days prior to the scheduled meeting of creditors. In addition,
                          advise the debtor of the requirement to attend the meeting of creditors and identify the
                          documents the debtor must bring to the meeting;

            H.            Advise the debtor that providing false information in the bankruptcy schedules or false
                          testimony at the meeting of creditors or other hearing or trial may expose the debtor to
                          criminal prosecution and denial of discharge;




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            I.            Advise the debtor of the necessity of maintaining liability, collision, and comprehensive
                          insurance on vehicles securing loans or leases;

            J.            Timely prepare and file the debtor’s petition, plan, schedules, statements, certificates,
                          and other documents required to commence a case, and review them for accuracy
                          contemporaneously with the filing.

II.         After the case is filed, the attorney for the chapter 13 debtor shall, at a minimum:

            A.            Ensure that the debtor is adequately represented by an attorney at the meeting of
                          creditors and make every effort to obtain confirmation of the plan;

            B.            Prepare, file, and serve any necessary amendments to the petition, schedules, and
                          statements;

            C.            Respond to any objection to plan confirmation and, where necessary, prepare, file, and
                          serve a modified plan, and appear, as required, at any hearing;

            D.            Prepare, file, and serve post-confirmation documents necessary to modify the plan;*

            E.            Promptly respond to the debtor’s questions throughout the case;

            F.            Prepare, file, and serve necessary motions to buy, sell, or refinance real or personal
                          property;*

            G.            Prepare and file a proof of claim for a creditor when appropriate to protect the debtor’s
                          interest;

            H.            Object to improper or invalid claims when appropriate to protect the debtor’s interest;*

            I.            Advise the debtor in motions for relief from the automatic stay, file objections when
                          appropriate, and appear, when required, at any hearing;*

            J.            Consider and advise the debtor concerning lien avoidance and, if appropriate, prepare,
                          file, and serve necessary motions to avoid liens on real or personal property;

            K.            Prepare, file, and serve responses to motions for dismissal of the case;*

            L.            Advise the debtor of the requirement to complete an instructional course in personal
                          financial management and the consequences of not doing so;

            M.            Prepare, file, and serve the Chapter 13 Debtor’s Certifications Regarding Domestic
                          Support Obligations and Section 522(q) and the Certificate of Debtor Education
                          immediately after completion of plan payments;

            N.            Represent the debtor in connection with any audit request;* and




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            O.            Represent the debtor in bringing and defending any and all other matters or proceedings
                          in the bankruptcy case as necessary for the proper administration of the case.

III.        The attorney shall comply with Local Rule 9010-3 and represent the debtor in bringing and
            defending all matters in the bankruptcy case until a substitution of attorneys is filed or an order is
            entered allowing the attorney to withdraw.

            Unless otherwise agreed, the attorney has no responsibility to represent the debtor in adversary
            proceedings. However, if an adversary proceeding is filed against the debtor, the attorney will
            explain to the debtor the estimated cost of providing representation in the adversary proceeding,
            the risks and consequences of an adverse judgment, and the risks and consequences of
            proceeding without counsel, as well as the sources, if any, of possible pro bono representation.

IV.         Before the case is filed, the chapter 13 debtor shall:

            A.            Fully disclose, review and analyze with the attorney the debtor’s real and personal
                          property, all debts, income, expenses and all other financial information needed to
                          properly complete the schedules and statements;

            B.            Prior to and throughout the case respond promptly to all communications from the
                          attorney:

            C.            Prior to and throughout the case, timely provide the attorney with full and accurate
                          financial and other information and documentation the attorney requests, INCLUDING
                          BUT NOT LIMITED TO:

                          1.         A Certificate of Credit Counseling and any debt repayment plan;

                          2.         Proof of income received from all sources in the six-month period preceding
                                     filing, including pay stubs, social security statements, workers’ compensation
                                     payments, income from rental property, pensions, disability payments, child and
                                     spousal support, and income from self-employment.

                          3.         The most recently filed federal and state income tax returns, or transcripts of
                                     returns, as well as any other returns requested by the attorney, the trustee, the
                                     court, or a party in interest;

                          4.         A government-issued photo identification and proof of social security number,
                                     such as a social security card or W-2;

                          5.         A record of interest, if any, in an educational individual retirement account or a
                                     qualified state tuition program;

                          6.         The name, address, and telephone number of any person or state agency to
                                     whom the debtor owes back child or spousal support or makes current child or
                                     spousal support payments, and any and all supporting court orders, declarations
                                     of voluntary support payments, separation agreements, divorce decrees, or
                                     property settlement agreements;




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                          7.         Any insurance policies requested by the attorney;

                          8.         Vehicle titles for all cars, trucks, motorcycles, boats, ATVs, and other vehicles
                                     titled in the debtor’s name;

                          9.         Legal descriptions for all real property, wherever located, owned by the debtor or
                                     titled in the debtor’s name, or in which the debtor has any interest whatsoever,
                                     including but not limited to, a timeshare, remainder interest, or life estate;

                          10.        Documents relating to any inheritance to which the debtor is entitled or may be
                                     entitled;

                          11.        Information relating to any foreclosures, repossessions, seizures, wage
                                     garnishments, liens, or levies on assets which occurred in the preceding 12
                                     months or continues after the filing of the case;

                          12.        Information and documents relating to any prior bankruptcies filed by the
                                     debtor(s) or any related entity;

                          13.        Any changes in income or financial condition, such as job loss, illness, injury,
                                     inheritance, or lottery winnings before or during the case;

                          14.        Information and documents relating to any lawsuits in which the debtor is
                                     involved before or during the case or claims the debtor has or may have against
                                     third parties;

                          15.        Information relating to any seizure of tax refunds by the IRS or Department of
                                     Revenue;

                          16.        All information or documentation needed to respond to any motion or objection in
                                     the bankruptcy case;

                          17.        Any tax returns, account statements, pay stubs, or other documentation
                                     necessary to timely comply with requests made by the United States Trustee or
                                     the Chapter 13 Trustee or any audit requests.

            D.            Cooperate with the attorney in preparing, reviewing, and signing the petition, schedules,
                          statements, and all other documents required for filing a bankruptcy case.

V.          After the case is filed, the chapter 13 debtor shall:

            A.            Timely and promptly comply with all applicable bankruptcy rules and procedures and with
                          the terms of the chapter 13 plan;

            B.            Appear punctually at the meeting of creditors with recent proof of income, a
                          government-issued photo identification card, proof of social security number, and copies
                          of all financial account statements covering the date the bankruptcy petition was filed;




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